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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                             CRIMINAL ACTION

VERSUS                                                               NO. 10-204

GERARD DUGUE                                                         SECTION "N" (1)


                                   ORDER AND REASONS

               Presently before the Court is Defendant Dugue’s “First Supplemental and Amending

Motion to Dismiss Counts 26-27" (Rec. Doc. 851). In this motion, Mr. Dugue contends that the

September 2009 interview between Mr. Dugue and the Government clearly was a perjury trap and

constituted a form of entrapment by the Government such that Counts 26 and 27 of the indictment

should be dismissed.

               The Court has twice previously rejected this argument. See Rec. Docs. 166 and 331.

With the instant motion, the Court now reaches the same conclusion a third time. On the showing

made, the Court does not agree that the prominent role in the interview apparently taken by the lead

prosecutor warrants a different result. Accordingly, IT IS ORDERED that Defendant Dugue's

"First Supplemental and Amending Motion to Dismiss Counts 26-27" is DENIED.

                New Orleans, Louisiana, this 1st day of June 2012.



                                                     ____________________________________
                                                            KURT D. ENGELHARDT
                                                           United States District Judge
